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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


THE UNITED STATES OF AMERICA et
al., ex rel., MAX BENNETT,

               Plaintiff,

        v.                                                   CIVIL ACTION NO.
                                                             13–cv–12277-IT
ABIOMED, INC., a Delaware
corporation.

               Defendant.

	
    MOTION	OF	CLYDE	D.	BERGSTRESSER,	RICHARD	J.	ZABBO	AND	THE	FIRM	OF	
      BERGSTRESSER	&	POLLOCK	P.C.	TO	WITHDRAW	AS	COUNSEL	FOR	THE	
                               PLAINTIFF	
	
	       Clyde	 D.	 Bergstresser,	 Richard	 J.	 Zabbo,	 and	 the	 law	 firm	 of	 Bergstresser	 &	

Pollock,	 P.C.,	 hereby	 move	 this	 Honorable	 Court	 in	 accordance	 with	 Local	 Rule	

83.5.2(c)(2)	to	withdraw	as	counsel	in	the	above-captioned	matter.	

	       Undersigned	counsel	state	that	in	light	of	the	recent	developments	set	forth	

below,	 we	 move	 the	 court	 to	 allow	 us	 to	 withdraw	 from	 representation	 of	 the	

Plaintiff.	 	 The	 undersigned	 first	 entered	 their	 appearances	 in	 this	 2013	 case	 three	

weeks	ago	on	September	11,	2018,	with	the	express	understanding	and	agreement	

of	the	Plaintiff	and	his	Lead	Counsel,	Royston	Delaney,	who	has	been	Lead	Counsel	

since	2014,	that	we	were	entering	our	appearances	only	as	co-counsel	to	assist	Lead	

Counsel	with	trial	preparation	and	trial,	and	not	to	take	the	case	over	as	lead	or	sole	

counsel.		Attorney	Delaney	represented	the	Plaintiff	in	the	False	Claims	Act	claim	out	

of	which	this	retaliation	claim	arose	and	had	extensive	knowledge	of	the	facts	and	
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the	 law.	 	 We	 made	 it	 clear	 to	 the	 Plaintiff	 and	 Attorney	 Delaney	 that	 we	 had	 no	

experience	representing	a	plaintiff	in	a	False	Claims	Act	filing	or	a	retaliation	claim	

arising	 therefrom	 and	 would	 be	 relying	 on	 Mr.	 Delaney	 for	 his	 knowledge	 of	 the	

facts	of	this	case	and	the	applicable	law.	

	       On	or	about	September	21,	2018,	after	we	had	been	entered	in	the	case	for	

only	 ten	 days,	 Attorney	 Delaney	 informed	 us	 of	 his	 intention	 to	 seek	 to	 withdraw	

from	 the	 case,	 citing	 a	 breakdown	 in	 the	 attorney-client	 relationship.	 	 This	 was	

unexpected.	 	 Prior	 to	 entering	 our	 appearances,	 we	 had	 been	 assured	 by	 Lead	

Counsel	and	the	Plaintiff	that	the	issue	that	apparently	triggered	the	breakdown	in	

the	 relationship	 was	 ancient	 history	 and	 no	 longer	 an	 issue.	 	 	 Had	 we	 been	 aware	

that	 there	 was	 the	 potential	 for	 the	 conflict	 that	 has	 arisen	 and	 the	 potential	 for	

Royston	 Delaney	 filing	 a	 motion	 to	 withdraw	 we	 would	 never	 have	 agree	 to	 enter	

our	appearance.			From	our	discussions	with	both	Mr.	Delaney	and	the	Plaintiff,	we	

do	not	believe	the	facts	asserted	herein	are	in	dispute.		Since	we	became	aware	of	

this	motion	there	have	been	communications	with	Mr.	Delaney	that	have	resulted	in	

a	breakdown	in	this	firm’s	relationship	with	Mr.	Delaney	as	well	as	it	relates	to	the	

above	claim.	

	       Rule	1.16(b)(7)	permits	a	lawyer	to	withdraw	from	representing	a	client	for	

good	cause	shown.		At	this	juncture,	given	the	motion	to	withdraw	by	Mr.	Delaney	

and	the	breakdown	in	the	relationship	with	Mr.	Delaney	and	the	dramatic	change	in	

circumstances	 that	 were	 the	 foundation	 for	 our	 appearance	 we	 must	 also	 seek	 to	

withdraw.	 	 As	 stated	 above	 neither	 Mr.	 Bergstresser	 nor	 Mr.	 Zabbo	 have	 a	 prior	

history	with	this	case	or	the	underlying	False	Claims	Act	case	out	of	which	it	arises	



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and	we	do	not	specialize	in	or	have	prior	experience	handling	claims	under	the	False	

Claims	 Act	 or	 retaliation	 cases	 arising	 therefrom.	 	 We	 only	 very	 recently	 filed	 our	

appearance	under	very	different	circumstances	and	the	representations	made	by	Mr.	

Delaney	 and	 the	 Plaintiff	 upon	 which	 we	 relied	 in	 filing	 our	 appearance	 are	 no	

longer	 accurate.	 	 If	 this	 motion	 is	 allowed,	 we	 are	 prepared	 to	 waive	 any	 and	 all	

claims	to	legal	fees	for	work	performed	on	this	matter.		

        WHEREFORE,	for	the	reasons	stated	herein,	we	respectfully	request	that	the	

Court	grant	our	motion.			We	further	ask	the	Court	to	extend	all	existing	scheduling	

order	deadlines	by	120	days	to	give	the	plaintiff	the	opportunity	to	secure	successor	

counsel.			

	       	       	       	       	       	       	       	

                                                /s/    Clyde D. Bergstresser
                                                Clyde D. Bergstresser, BBO #039200
                                                clyde@bergstresser.com

                                                /s/    Richard J. Zabbo
                                                Richard J. Zabbo, BBO #658601
                                                rich@bergstresser.com

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                              Local	Rule	7.1(a)	Certification	

	       The	 undersigned	 hereby	 certify	 that	 they	 have	 conferred	 with	 the	 plaintiff,	

with	 Royston	 H.	 Delaney,	 Esq.,	 Charles	 Kester,	 Esq.	 and	 Ken	 M.	 Bello,	 Esq.,	 in	 good	

faith	in	an	attempt	to	narrow	or	resolve	the	issued	raised	in	the	instant	motion.	

	       	       	       	       	       	       /s/     Clyde D. Bergstresser

	       	       	       	       	       	       /s/     Richard J. Zabbo                 	

	

                                    Certificate	of	Service	

        I	hereby	certify	that	a	true	copy	of	the	above	document	was	served	upon	the	

attorneys	 of	 record	 for	 each	 other	 party	 by	 electronic	 means	 [ECF],	 and	 on	 the	

plaintiff	via	email	and	First	Class	Mail.	

	       	       	       	       	       	       /s/     Richard J. Zabbo                 	

        	

	       	

	
	




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